      Case 4:06-cr-00135-BRW           Document 117           Filed 10/15/07   Page 1 of 2

                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITES STATES OF AMERICA

v.                                  4:06CR00135-01 WRW

JEREMY BRENT KERSEY

                                            ORDER

       Pending is the Prosecution’s Motion For Continuance (Doc. No. 115). The Defendant

has responded (Doc. No. 116). The Prosecution requests: (1) a continuance; (2) the Court to

determine the Defendant’s mental capacity at the time of the offense; and (3) that any delay in

connection with the psychiatric evaluation be excluded from calculations for the purpose of the

Speedy Trial Act.1 The Prosecution previously requested a psychiatric examination to determine

both competency to stand trial and competency at the time of the offense (Doc. No. 102), but the

Court’s order (Doc. No. 105) inadvertently mentioned only an examination in connection with

competency to stand trial. Thus, the psychiatric evaluation received by the Court did not address

the issue of competency at the time of the offense.

       For good cause shown, the Prosecution’s Motion to Continue is GRANTED.

       It is therefore ordered:

       (1) That Defendant, under 18 U.S.C. § 4247(b) and (c), is committed to the custody of the

Attorney General or his authorized representative for a period not to exceed thirty (30) days for

psychiatric examination under 18 U.S.C. § 4242. The Defendant’s previous psychiatric

evaluation was performed by Ms. Karen Milliner, Psy. D., at the Federal Medical Center in

Lexington, Kentucky. The Defendant is ordered to return to the same facility and same doctor for

an evaluation of his competence at the time of the offense;



       1
        18 U.S.C. 3161 et seq.
       Case 4:06-cr-00135-BRW           Document 117        Filed 10/15/07      Page 2 of 2

       (2) That since Defendant is not in custody and is eligible to self-report, he will report

directly to the designated medical facility on Monday, October 29, 2007. He is to be released

from that facility upon the completion of the examination period to return home at his own

expense. Defendant is to be released on the same bond and conditions previously set upon

completion of the examination, and he must report to the probation office in this district within

three days of his release;

       (3) That, under 18 U.S.C. § 4247©, the facility conducting the examination will file a

report with this Court with copies to the Defendant’s counsel and the Prosecution; and

       (4) That any delay in commencing the trial of this case occasioned by this examination

will be excludable under the provisions of the Speedy Trial as provided by 18 U.S.C. §

3161(h)(1)(A).

       In connection with the determination of insanity at the time an offense was committed,

“the court, upon motion of the attorney for the Government, shall order a psychiatric or

psychological examination. . . .” The Speedy Trial Act excludes for the purposes of speedy trial

“[a]ny period of delay resulting from other proceedings concerning the defendant, including, but

not limited to . . . any examinations, to determine the mental competency or physical capacity of

the defendant. . . .”2 The Eighth Circuit recognizes this exclusion.3

       IT IS SO ORDERED this 15th day of October, 2007.




                                                       /s/Wm. R. Wilson, Jr.
                                              UNITED STATES DISTRICT JUDGE




       2
        18 U.S.C. 3161(h)(1)(A)
       3
        See United States v. DeGarmo, 450 F.3d 360 (8th Cir. 2006).
